     Case 3:18-cv-00182-D Document 73 Filed 10/18/18       Page 1 of 11 PageID 936


                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

ZENITH INSURANCE COMPANY,                  §
                                           §
              Plaintiff,                   §
                                           §
V.                                         §          No. 3:18-cv-182-D
                                           §
TEXAS INSTITUTE FOR SURGERY,               §
L.L.P., et al.,                            §
                                           §
              Defendants.                  §

                     MEMORANDUM OPINION AND ORDER

        Plaintiff Zenith Insurance Company (“Zenith”) has filed a Motion for Leave to

Take More than Ten (10) Depositions (Fed. R. Civ. P. 30(a)(2)(A)(i)), see Dkt. No. 61

(the “Motion for Leave”), which Senior United States District Judge Sidney A.

Fitzwater has referred to the undersigned United States magistrate judge for a

hearing, if necessary, and for determination under 28 U.S.C. § 636(b), see Dkt. No. 63.

        Defendants John Vincent Zipper, Paula M Harrison, Atlas Anesthesia

Associates, P.A. (“AAAP”), and Texas Institute for Surgery, L.L.P. (“TIFS”) have each

filed a response, see Dkt. Nos. 66, 67, 68, & 69, and Zenith filed a reply, see Dkt. No.

72.

        For the reasons and to the extent explained below, the Court GRANTS in part

and DENIES in part without prejudice Plaintiff Zenith Insurance Company’s Motion

for Leave to Take More than Ten (10) Depositions (Fed. R. Civ. P. 30(a)(2)(A)(i)) [Dkt.

No. 61].


                                          -1-
Case 3:18-cv-00182-D Document 73 Filed 10/18/18            Page 2 of 11 PageID 937


                                   Background

   By way of factual background and procedural background, Zenith explains that

   [t]his is a medical malpractice case involving four defendants. The action
   relates to a 36-year old patient who now requires lifetime care after
   suffering permanent brain injuries during a routine ankle surgery. As a
   result of the defendants’ negligence, plaintiff alleges economic damages
   greater than $13,000,000. More than 120 witnesses have been identified
   in defendants’ initial disclosures. (Pl. Appx. at 16-58.) But despite the
   magnitude of the case and the number of witnesses, defendants have
   insisted that plaintiff is limited to taking just 10 depositions. As a result,
   plaintiff seeks the Court’s permission to take more than 10 depositions.
   (FED. R. CIV. P. 30(a)(2)(A)(i) [“A party must obtain leave of court, and
   the court must grant leave to the extent consistent with Rule 26(b)(1) and
   (2) … if the parties have not stipulated to the deposition and … the
   deposition would result in more than 10 depositions being taken under
   this rule …”])
           Plaintiff has already taken two depositions. Two more depositions
   have been noticed by plaintiff, but not yet taken. Plaintiff wishes to
   depose an additional 20 non-expert witnesses, for a total of 24 depositions
   altogether. The witnesses to be deposed, and the reasons for each
   deposition, are identified in Table A (Pl. Appx. at 4-8). Each deposition is
   necessary, and the depositions are not expected to be cumulative or
   duplicative. (Williams Decl., ¶ 6-8 [Pl. Appx. at 2-3].)
   ....
           36-year old Tyra Price worked at a Dunkin Donuts in Dallas. One
   day at work, she fell and injured her ankle. Tyra made a claim for
   workers compensation benefits. Tyra’s claim was accepted by plaintiff
   Zenith Insurance Company (“Zenith”), Tyra’s workers compensation
   insurer.
           Tyra underwent what should have been routine ankle surgery at
   Texas Institute for Surgery (“TIFS”). The surgery ended at 5:57 p.m. (See,
   TIFS’ Answer, Doc. 17, p. 5, ¶ 14.) By 6:01 p.m.(only 4 minutes after the
   surgery ended) Tyra began showing signs that she was struggling to
   breathe. (Id., p. 6, ¶ 16-19.) By 6:09 p.m., Tyra was unresponsive and a
   Code Blue was called. (Id., ¶ 19.) Medical staff at TIFS eventually called
   9-1-1, and an ambulance transported Tyra to a different hospital, where
   she remained in a coma for several weeks. Tyra suffered permanent
   anoxic brain injuries, and now requires lifetime care. Plaintiff alleges
   that the defendants failed to maintain Tyra’s airway (i.e., she couldn’t
   breathe), and failed to take corrective action when they observed Tyra
   struggling to breathe. In its initial disclosures, plaintiff estimates its total

                                         -2-
  Case 3:18-cv-00182-D Document 73 Filed 10/18/18           Page 3 of 11 PageID 938


      economic damages as more than $13,000,000. (Williams Decl., ¶ 5 [Pl.
      Appx. at 2].)
             The parties dispute the cause of Tyra Price’s cardiac arrest and
      ensuing brain injuries. In general, plaintiff alleges that the cardiac arrest
      occurred when Tyra stopped breathing because she aspirated as a result
      of substandard medical care provided to her by the defendants. (See, Pl.
      Second Amended Complaint, Doc., 35, pp. 2-3.) For their part, the
      defendants have said under oath that they do not know the cause of the
      cardiac arrest. (See, Pl. Appx. at 61 [Answer to Interrogatory no. 4]; and
      at 68 [Answer to Interrogatory no. 7].)
      ....
             Leave should be granted to allow plaintiff to take more than 10
      depositions, because everyone agrees the deponents will provide
      discoverable information; the depositions are not unreasonably
      cumulative or duplicative; the information sought by the depositions
      cannot reasonably be obtained from other sources that are more
      convenient, less burdensome, or less expensive; and the burden or
      expense of the proposed depositions do not outweigh likely benefits of the
      depositions, considering the needs of the case, the amount in controversy,
      the parties’ resources, the importance of the issues at stake in the action,
      and the importance of the discovery in resolving the issues.

Dkt. No. 61 at 2-4 (footnote omitted).

      In response, TIFS explains that

      [t]is is a medical malpractice case involving the care and treatment of
      Tyra Price. Price fell and fractured her ankle at work. She underwent
      right ankle surgery at TIFS on May 20, 2016. Following surgery, Price
      had difficulty breathing, coded, and was transferred to Texas Health
      Presbyterian Hospital Dallas for further care. Plaintiff, the worker’s
      compensation insurance carrier for Price’s employer, alleges Price
      suffered permanent anoxic brain injuries. Plaintiff claims Price’s injuries
      were caused by TIFS’ alleged negligence, and the negligence of others,
      following Price’s surgery.
              Federal Rule of Civil Procedure 30(a)(2)(A) “prescribes a
      presumptive limit on the number of depositions that may reasonably be
      taken in a civil suit.” Each side is limited to ten depositions, absent
      agreement or leave of Court.
              To date, Plaintiff has taken two depositions, scheduled three more
      depositions, and now seeks leave of the Court to take a total of 24
      depositions—more than double the presumptive limit. Plaintiff deposed
      Dr. Benzel MacMaster (Price’s surgeon) and Dr. John Zipper (Price’s

                                           -3-
  Case 3:18-cv-00182-D Document 73 Filed 10/18/18            Page 4 of 11 PageID 939


      anesthesiologist). [See Appx. 1-18]. Plaintiff has scheduled the
      depositions of TIFS (the hospital), Chelsea Boleyn, R.N. (Price’s nurse),
      and Paula Harrison, CRNFA (first assistant during surgery). In it Motion
      for Leave, Plaintiff seeks to depose two additional hospitals, seven
      additional nurses, three techs, six additional physicians, and a
      professional association. [Pl. App. Dckt. 62 at 4-8]. [Additionally, Plaintiff
      plans to seek leave, if necessary, to depose TIFS’ testifying expert
      witnesses, when designated in this case. [Pl. Motion for Leave, Dckt. 62,
      at page 4, n.2].]
             Plaintiff has failed to meet its burden of establishing the necessity
      of 24 depositions. Further, Plaintiff fails to establish that granting leave
      for each deposition is “consistent with Rule 26(b)(1) and (2) . . .” Instead,
      Plaintiff broadly claims that the 24 proposed depositions are relevant and
      “are not expected to be cumulative or duplicative.” Plaintiff’s general
      assertions and self-serving conclusions fail to satisfy its burden.
             As set forth in its supporting brief, Plaintiff has failed to meet its
      burden of establishing the necessity of taking 24 depositions in this case.
      Accordingly, the Court should deny Plaintiff’s Motion for Leave to
      Conduct More than Ten Depositions.

Dkt. No. 69 at 1-2 (footnote omitted); see also Dkt. No. 70 at 1-2.

      Defendants Zipper, Harrison, and AAAP each offer a similar response or

expressly adopt TIFS’s response. See Dkt. Nos. 66, 67, & 68.

      In reply, Zenith contends that

      [l]eave to take more than ten depositions should be granted, because
      leave to do so is consistent with Rule 26(b)(1) and (2). Twenty-four
      depositions of non-expert witnesses would be a lot of depositions in most
      cases. But twenty-four depositions are reasonable in this particular case
      involving serious permanent brain injuries; multi-million dollar damages;
      a patient whose injuries occurred at one hospital and who was later
      treated, tested and diagnosed at two other hospitals; disputed factual
      issues as to liability and causation; initial disclosures that identify more
      than 120 potential trial witnesses; and one defendant (TIFS) who
      answered an interrogatory by telling plaintiff to get the information
      requested by the interrogatory through depositions of TIFS’ nursing staff.

Dkt. No. 72 at 1.



                                           -4-
  Case 3:18-cv-00182-D Document 73 Filed 10/18/18           Page 5 of 11 PageID 940


                                   Legal Standards

      Federal Rule of Civil Procedure 30(a)(2) provides that “[a] party must obtain

leave of court, and the court must grant leave to the extent consistent with [Federal

Rule of Civil Procedure] 26(b)(1) and (2): (A) if the parties have not stipulated to the

deposition and: (i) the deposition would result in more than 10 depositions being taken

under this rule or Rule 31 by the plaintiffs, or by the defendants, or by the third-party

defendants.” FED. R. CIV. P. 30(a)(2)(A). And Federal Rule of Civil Procedure 26(b)(2)(A)

provides that, “[b]y order, the court may alter the limits in these rules on the number

of depositions.” FED. R. CIV. P. 26(b)(2)(A).

      “When a party seeks leave to take more than ten depositions, the court’s decision

whether to grant such leave is governed by the principles set out in” Federal Rules of

Civil Procedure 26(b)(1) and 26(b)(2). Barrow v. Greenville Indep. Sch. Dist., 202 F.R.D.

480, 482 (N.D. Tex. 2001). Federal Rule of Civil Procedure 26(b)(2)(C), as amended

effective December 1, 2015, provides that, “[o]n motion or on its own, the court must

limit the frequency or extent of discovery otherwise allowed by these rules or by local

rule if it determines that: (i) the discovery sought is unreasonably cumulative or

duplicative, or can be obtained from some other source that is more convenient, less

burdensome, or less expensive; (ii) the party seeking discovery has had ample

opportunity to obtain the information by discovery in the action; or (iii) the proposed

discovery is outside the scope permitted by Rule 26(b)(1).” FED. R. CIV. P. 26(b)(2)(C).

Rule 26(b)(1), as amended, effective December 1, 2015, now provides that, “[u]nless

otherwise limited by court order, the scope of discovery is as follows: Parties may

                                           -5-
  Case 3:18-cv-00182-D Document 73 Filed 10/18/18           Page 6 of 11 PageID 941


obtain discovery regarding any nonprivileged matter that is relevant to any party’s

claim or defense and proportional to the needs of the case, considering the importance

of the issues at stake in the action, the amount in controversy, the parties’ relative

access to relevant information, the parties’ resources, the importance of the discovery

in resolving the issues, and whether the burden or expense of the proposed discovery

outweighs its likely benefit. Information within this scope of discovery need not be

admissible in evidence to be discoverable.” FED. R. CIV. P. 26(b)(1).

      Just as was the case before the December 1, 2015 amendments, under Rules

26(b)(1) and 26(b)(2)(C)(iii), a court can – and must – limit proposed discovery that it

determines is not proportional to the needs of the case, considering the importance of

the issues at stake in the action, the amount in controversy, the parties’ relative access

to relevant information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed discovery

outweighs its likely benefit – and the court must do so even in the absence of a motion.

See Crosby v. La. Health Serv. & Indem. Co., 647 F.3d 258, 264 (5th Cir. 2011); accord

Hightower v. Grp. 1 Auto., Inc., No. CV 15-1284, 2016 WL 3511720, at *1 (E.D. La. Apr.

27, 2016), reconsideration denied, 2016 WL 3430569 (E.D. La. June 22, 2016)

(“Permissible discovery extends only to that which is non-privileged, relevant to claims

and defenses in the case and within the applicable Rule’s proportionality limits,

regardless whether those limits arise from the indistinguishable standards of Fed. R.

Civ. P. 26(b)(1) and (b)(2)(C) as they existed at the time this case was filed or in those

same Rules as presently configured.”).

                                           -6-
  Case 3:18-cv-00182-D Document 73 Filed 10/18/18           Page 7 of 11 PageID 942


      The party seeking leave under Rule 30(a)(2)(A) to take more than ten

depositions must “show the necessity of all the depositions she took in reaching the

prescribed limit,” that is, “the necessity for each deposition she took without leave of

court pursuant to the presumptive limit of Rule 30(a)(2)(A).” Barrow, 202 F.R.D. at

482-83. “In other words, [the party seeking leave] must establish not only the necessity

of each deposition identified in his motion (i.e., witnesses 11 through 20), but also the

necessity of all the depositions he has taken or will take in reaching the prescribed

limit (i.e., witnesses 1 through 10).” MacKenzie v. Castro, No. 3:15-cv-752-D, 2016 WL

3906084, at *5 (N.D. Tex. July 19, 2016). “And [t]he mere fact that more than ten

individuals may have discoverable information in a case does not mean that taking

more than ten depositions makes sense.” Byers v. Navarro Cty., No. 3:09-cv-1792-D,

2011 WL 4367773, at *2 (N.D. Tex. Sept. 19, 2011) (internal quotation marks omitted).

      “The rationale for such a standard is” that [h]ad [the party seeking leave] opted

not to take other depositions, she could have taken the ones in question without first

obtaining leave of court.” Barrow, 202 F.R.D. at 482 (footnote omitted). The party

seeking leave “should not be allowed to conduct ten” (or more) “depositions that were

not subject to judicial review under the Rule [26(b)(1) and Rule] 26(b)(2) standards and

then only be required to” provide specific reasons for seeking “leave to take the

additional ones at issue.” Id. at 482-83. “If this approach were condoned, a party could

indirectly circumvent the cap on depositions by exhausting the maximum allotted

number to take those that she could not justify under the Rule [26(b)(1) and Rule]

26(b)(2) standards, and then seeking leave to exceed the limit in order to take

                                           -7-
  Case 3:18-cv-00182-D Document 73 Filed 10/18/18           Page 8 of 11 PageID 943


depositions that she could substantiate. Rule 30(a)(2)(A) is intended to control

discovery, with its attendant costs and potential for delay, by establishing a default

limit on the number of depositions.” Id. at 483. “This salutary purpose would be

subverted unless a party who takes the maximum number of depositions allowed, and

then seeks leave to conduct more, is required to show the necessity of all the

depositions she took in reaching the prescribed limit in order to demonstrate” her

entitlement to leave under Rule 30(a)(2)(A). Id.

                                       Analysis

      As an initial matter, Zenith takes issue with whether it must show the necessity

of all the depositions that it seeks to take where it has not yet taken 10 depositions:

      The defendants all say that plaintiff must show the “necessity” of every
      deposition that has already been taken, and also establish necessity for
      every deposition that plaintiff plans to take in the future. (See, e.g., Doc.
      67, p. 4.) But that is not the correct legal standard. As Judge Fitzwater
      made clear in Barrow, that standard is reserved for cases where the party
      seeking to exceed the ten-deposition limit has already taken ten or more
      depositions, because otherwise “a party could indirectly circumvent the
      cap on depositions by exhausting the maximum allotted number to take
      those that she could not justify under the Rule 26(b)(2) standards, and
      then seeking leave to exceed the limit in order to take depositions that
      she could substantiate.” (Barrow v. Greenville Indep. Sch. Dist. (N.D. Tex.
      2001) 202 F.R.D. 480, 483.) That, of course, is not what happened here –
      plaintiff has not already met or exceeded the ten deposition limit.

Dkt. No. 72 at 2 (emphasis omitted).

      The Court cannot accept that reading of the standards that the case law sets in

interpreting and applying Rule 30(a)(2). A party seeking leave to take more than 10

depositions “must establish not only the necessity of each deposition identified in his

motion (i.e., witnesses 11 through 20), but also the necessity of all the depositions he

                                           -8-
  Case 3:18-cv-00182-D Document 73 Filed 10/18/18          Page 9 of 11 PageID 944


has taken or will take in reaching the prescribed limit (i.e., witnesses 1 through 10).”

MacKenzie, 2016 WL 3906084, at *5. Otherwise, a party could “indirectly circumvent

the cap on depositions by [designating as the first 10 depositions to be taken] those

that [it] could not justify under the Rule [26(b)(1) and Rule] 26(b)(2) standards, and

then seek[] leave to exceed the limit in order to take depositions that [it] could

substantiate.” Barrow, 202 F.R.D. at 483.

      But, through the Declaration of Jeffrey J. Williams (Zenith’s counsel) and the

attached Table A, Zenith has made efforts to show the necessity of the 24 depositions

that it seeks leave to take and to justify them under the Rules 26(b)(1) and 26(b)(2)

standards. And, after carefully reviewing the parties’ arguments and filings, the Court

determines that Zenith has shown the necessity of some of the depositions that they

took and seek to take in reaching and exceeding the prescribed 10-deposition limit.

      The Court finds that Zenith has adequately explained the necessity of, and

justified taking, the depositions of Dr. Benzel MacMaster and Dr. John V. Zipper and

further will grant leave for Zenith to take the following depositions as listed in Table

A: (3) corporate representative of Texas Institute for Surgery; (4) Chelsea

Boleyn-Kourkounakis; (5) Kristi Quick; (6) Jesse Santana; (7) Katherine Cane; (8)

Nurse Davis; (9) Shanel George; (10) Teresa Shrode; (11) Paula Harrison; (12)

Clementeen Portley; (16) Ryan Rose, M.D.; (17) corporate representative of Atlas

Anesthesia Associates; (18) corporate representative of Texas Health Presbyterian

Hospital of Dallas; (19) Daniel E. Krampitz, M.D.; (20) Thomas J. Ruhnke, M.D.; (21)

Jorge Cherif, M.D.; (22) Carter A. King, M.D.; (23) corporate representative of TIRR

                                          -9-
  Case 3:18-cv-00182-D Document 73 Filed 10/18/18           Page 10 of 11 PageID 945


Memorial Houston; and (24) Poyee Tung, M.D. These doctors and nurses were

personally involved in Tyra Price’s medical care or eyewitnesses to the events at issue

in this case, and the Court finds that a corporate representative deposition of each

facility at which Tyra Price received care is justified. Zenith has sufficiently explained

how deposition testimony from each of these witnesses is justified even if other means

may be available to seek discoverable information that each witness may have. And,

under Rules 26(b)(1) and 26(b)(2), the Court determines that these 21 depositions are

proportional to the needs of the case, considering the importance of the issues that

Zenith seeks to address through the testimony sought through these deponents and the

importance of the testimony sought to resolving important issues in the case as well

as the amount in controversy, the parties’ relative access to relevant information, and

the parties’ resources. And Defendants have not shown that any burden or expense of

the proposed depositions outweighs their likely benefit or that the deponents’

testimony is likely to fall short of Rule 26(b)(1)’s relevance standards. Nor does the

Court otherwise find these depositions to be unreasonably cumulative or duplicative

under the circumstances.

      But the Court determines that Zenith has not met its burden to show the

necessity of depositions of (13) Tee Henry; (14) Jason Grey; and (15) Krystal Plueger

or to justify these proposed depositions under Rules 26(b)(1) and 26(b)(2). That TIFS

told Zenith to obtain information by deposing nurses – where there is no indication

that these three TIFS employees (even if at lease two are nurses) were present for or

eyewitnesses to the events at issue in this case – and that Defendants identified these

                                          -10-
  Case 3:18-cv-00182-D Document 73 Filed 10/18/18         Page 11 of 11 PageID 946


individuals in initial disclosures will not suffice. The standard for including an

individual in Federal Rule of Civil Procedure 26(a)(1) initial disclosures as an “likely

to have discoverable information ... that the disclosing party may use to support its

claims or defenses, unless the use would be solely for impeachment,” is lower than the

standard Zenith must meet to show the necessity of the individual’s depositions and

to justify a deposition under the Rules 26(b)(1) and 26(b)(2) standards. The Court is

accordingly likewise not persuaded by Zenith’s argument that it seeks to depose only

a fraction of the individuals that Defendants disclosed under Rule 26(a)(1).

                                     Conclusion

      For the reasons and to the extent explained above, the Court GRANTS in part

and DENIES in part without prejudice Plaintiff Zenith Insurance Company’s Motion

for Leave to Take More than Ten (10) Depositions (Fed. R. Civ. P. 30(a)(2)(A)(i)) [Dkt.

No. 61].

      SO ORDERED.

      DATED: October 18, 2018



                                        _________________________________________
                                        DAVID L. HORAN
                                        UNITED STATES MAGISTRATE JUDGE




                                         -11-
